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 9
                                  UNITED STATES DISTRICT COURT
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                                      EASTERN DISTRICT OF CALIFORNIA
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         UNITED STATES OF AMERICA,                              CASE NO. 1:11-CR-00304-(1)-LJO
14
                                   Plaintiff,
15                                                              MEMORANDUM DECISION AND ORDER
               v.                                               DENYING PETITIONER’S § 3582 MOTION
16                                                              TO REDUCE SENTENCE UNDER U.S.S.G.
         CESAR GALVAN CORTES,                                   AMENDMENT 782
17
                                   Defendant.
18                                                              (Doc. 72)
19

20           Before the Court is Defendant Cesar Galvan Cortes’s pro se motion to reduce his sentence
21   (Doc. 72), under U.S.S.G. § 1B1.10(b)(1) and Amendment 782 (“the Amendment”) to the United
22   States Sentencing Guidelines,1 which revised the Drug Quantity Table in § 2D1.1 and reduced by
23   two levels the offense level applicable to many drug trafficking offenses. The Federal Defender’s
24   Office declined to supplement the motion. See Doc. 74. The Government opposes the motion on the
25   basis that the Defendant is not eligible for a reduction under § 1B1.10. See Doc. 76. Upon review of
26   the parties’ briefing, the record in the case including the Probation Office’s Presentence Report
27   (“PSR”), and the relevant law, the Court will deny the motion.
28   1
      Hereinafter, all references to sections (§) refer to the United States Sentencing Commission, Guidelines Manual (“the
     Guidelines”) unless otherwise indicated.
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 1   I.     BACKGROUND

 2          On March 26, 2011, the Defendant pled guilty to a two-count Superseding Information for

 3   using a communications facility to facilitate a drug-trafficking crime, a violation of 21 U.S.C.

 4   § 843(b). See Doc. 34.

 5          Prepared by the U.S. Probation Office, the PSR found the amount of drugs attributed to

 6   Petitioner was 2.195 kilograms of actual methamphetamine. PSR at ¶¶ 6, 11. Pursuant to

 7   §§ 2D1.1(c)(1), the PSR recommended a base offense level of 38 (based on the amount of

 8   methamphetamine involved in the case) and his criminal history was category I (based on 0 criminal

 9   history points). PSR ¶¶ 11, 21. Pursuant to § 2D1.1(b)(1), because one of the co-defendants was

10   armed with a loaded pistol during the drug transaction, the PSR recommended a two-level increase,

11   for an adjusted offense level of 40. PSR ¶ 12. Pursuant to § 3B1.1(c), the PSR recommended an

12   additional two-level increase because of Defendant’s aggravating role in the offense, for an adjusted

13   offense level of 42. PSR ¶ 13. Pursuant to §§ 3E1.1(a) and (b), Defendant’s acceptance of

14   responsibility warranted a three-level reduction, for an adjusted total offense level of 39. PSR ¶¶ 16-

15   17. The Guideline range for a defendant with an offense level of 39 and a criminal history category I

16   was 262-327 months imprisonment. U.S.S.G. Ch. 5, Pt. A. However, the statutorily authorized

17   maximum sentence for the relevant crimes was 48 months per count. 21 U.S.C. § 843(b). Therefore,

18   pursuant to § 5G1.1(a), the PSR recommended a sentence of 48 months per count, for a total of 96

19   months. PSR ¶ 33.

20          At sentencing on June 6, 2012, the Court rejected the PSR’s recommendation for a two-level

21   increase for Defendant’s role in the offense, but otherwise accepted the PSR. Doc. 51. Thus,

22   Defendant’s adjusted total offense level was 37 and his criminal history category remained I. Id.

23   The Guideline range for a defendant with an offense level of 37 and a criminal history category I

24   was 210-262 months. U.S.S.G. Ch. 5, Pt. A. Applying the statutorily authorized maximum sentence

25   under § 5G1.1(a) for each of the two counts, the Court calculated Defendant’s sentencing range as

26   48 months for each count, for a total of 96 months. Doc. 51. Exercising a downward departure, the

27   Court imposed a sentence of 86 months imprisonment, 12 months supervised release, and a $200

28   special assessment. Id.
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 1   II.     LEGAL STANDARD

 2           “A federal court generally ‘may not modify a term of imprisonment once it has been

 3   imposed.’” Dillon v. United States, 560 U.S. 817, 819 (2010) (quoting 18 U.S.C. § 3582(c)).

 4   However, a federal sentencing court is authorized to modify an imposed sentence when the relevant

 5   sentencing range was lowered subsequent to a defendant’s original sentence. 18 U.S.C. § 3582(c)(2);

 6   see United States v. Dunn 728 F.3d 1151, 1155 (9th Cir. 2013) (a district court may do so “in the

 7   case of a defendant who has been sentenced to a term of imprisonment based on a sentencing range

 8   that has subsequently been lowered by the Sentencing Commission.”). Effective November 1, 2014,

 9   the Commission promulgated Amendment 782, which generally revised the Drug Quantity Table

10   and chemical quantity tables across drug and chemical types. The Commission also voted to make

11   the Amendment retroactively applicable to previously sentenced defendants. See U.S.S.G., sup.

12   App’x C, amend. 788 (2014); United States v. Navarro, 800 F.3d 1104, 1107 (9th Cir. 2015).

13           Determining whether a sentence reduction is appropriate under § 3582(c)(2) “requires a two-

14   step inquiry.” Dunn, 728 F.3d at 1155. At step one, “a district court must determine whether a

15   prisoner is eligible for a sentence modification under the Commission’s policy statement in U.S.S.G.

16   § 1B1.10.” Id. That policy statement enumerates a list of amendments to the Guidelines which have

17   lowered the sentencing ranges for certain offenses. See § 1B1.10(d). In the event that one of the

18   enumerated amendments has lowered a guideline range applicable to a defendant, the district court

19   “shall determine the amended guideline range that would have been applicable to the defendant if

20   the amendment(s) … had been in effect at the time the defendant was sentenced.” § 1B1.10(b)(1).

21           If the answer to step one is that the defendant is eligible for a reduced sentence, the district

22   court turns to step two of the inquiry, where the court “must consider any applicable § 3553(a)

23   factors and determine whether, in its discretion, the reduction authorized by reference to the policies

24   relevant at step one is warranted in whole or in part under the particular circumstances of the case.”2

25   Dunn, 728 F.3d at 1155 (internal quotation marks and citation omitted).

26   2
      The § 3553(a) factors include: “the nature and circumstances of the offense and the history and characteristics of the
27   defendant; the purposes of sentencing; the kinds of sentences available; the sentences and ranges established by the
     Guidelines; relevant policy statements issued by the Sentencing Commission; the need to avoid unwarranted sentencing
28   disparities among similarly situated defendants; and the need to provide restitution to victims.” Id. at 1158 (internal
     quotation marks and citation omitted).
                                                                3
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 1   III.   DISCUSSION

 2          Defendant Cortes requests a reduction in his sentence under Amendment 782, enumerated in

 3   U.S.S.G. § 1B1.10(d). (Doc. 72).

 4          The initial inquiry of whether a defendant is eligible for sentence reduction is informed by

 5   the Sentencing Commission’s constraints on the Court’s authority to modify a sentence. Dillon, 560

 6   U.S. at 825-26. Section 3582 permits a sentence reduction only where “such a reduction is consistent

 7   with applicable policy statements issued by the Sentencing Commission.” Pursuant to

 8   § 1131.10(a)(2)(13), “[a] reduction in the defendant’s term of imprisonment is not consistent with

 9   this policy statement and therefore is not authorized under 18 U.S.C. § 3582(c)(2) if … an

10   amendment listed in subsection (c) does not have the effect of lowering the defendant’s applicable

11   guideline range.” § 1B1.10(a)(2)(B).

12          Although the adjusted drug quantity table reduces Defendant Cortes’s base offense level by

13   two levels, (Amendment 782; § 1B1.10), this does not affect his sentence. The Amendment was to

14   § 2D1, but when evaluating a § 3582(c)(2) motion, a district court “shall substitute” the amended

15   Guidelines range for the initial range, and “shall leave all other guideline application decisions

16   unaffected.” Dillon, 560 U.S. at 831 (citing § 1B1.10(b)(1)).

17          Here, the original sentencing guideline range was 210-262 months (based on a total offense

18   level of 37 and a criminal history category I). See U.S.S.G. Ch. 5, Pt. A. The Court did not use that

19   guideline range, however, because where the bottom of the guideline range (210 months) exceeds

20   the statutorily authorized maximum sentence for the offense of conviction (here, 48 months), the

21   statutory maximum controls. See § 5G1.1(a); Doc. 51. The practical effect of the two-level reduction

22   yields the same result. The post-Amendment guideline range is 168-210 months (based on a reduced

23   base offense level of 35 with an unchanged criminal history category of I). The low end of the range

24   – 168 months – is still higher than 48 months, the statutory maximum sentence authorized per count

25   under § 5G1.1(a). In sum, because § 5G1.1(a) served as the basis for the original sentence, the

26   Amendment has not reduced the guideline range applicable in Defendant’s case. See Amendment

27   782; § 1B1.10; § 2D1.1; Dillon, 560 U.S. at 831; United States v. Paulk, 569 F.3d 1094, 1096 (9th

28   Cir. 2009).
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 1            Ultimately, because the application of the Amendment does not have the effect of lowering

 2   Defendant’s applicable guideline range, the Court does not have the authority to modify Defendant’s

 3   sentence and § 1B1.10(a)(2)(B) militates finding that no such reduction may occur. Dillon, 560 U.S.

 4   at 825-26; see also United States v. Leniear, 574 F.3d 668, 673-74 (9th Cir. 2009) (the final

 5   sentencing range was unchanged due to the operation of the grouping rules). Therefore, the answer

 6   at step one is that Defendant is ineligible for a sentence reduction. As the answer at step one is “No,”

 7   the Court does not proceed to step two. See U.S.S.G. § 1B1.10; Dunn, 728 F.3d at 1155.

 8   IV.      CONCLUSION AND ORDER

 9            The Court concludes that Defendant Cortes has no basis for seeking a reduction, thus his

10   motion is denied. See § 1B1.10(a)(2)(B); see also United States v. Waters, 771 F.3d 679, 680 (9th

11   Cir. 2014) (per curium) (finding a defendant ineligible for sentence reduction and denying § 3582

12   motion where sentencing range was unaffected by Amendment 782). Accordingly,

13            IT IS HEREBY ORDERED that Defendant Cesar Galvan Cortes’s motion to reduce his

14   sentence (Doc. 72) is DENIED, pursuant to 18 U.S.C. § 3582(c)(2). The Clerk of Court is

15   DIRECTED to TERMINATE the Defendant and CLOSE THE CASE.

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     IT IS SO ORDERED.
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18         Dated:   June 3, 2016                            /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
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